Case 1:22-cv-23871-JEM Document 6 Entered on FLSD Docket 01/20/2023 Page 1 of 2



                                      RETURN OF SERVICE
                                 UNITED STATES DISTRICT COURT
                                         District of Florida
 Case Number: 1:22-CV-23871-JEM
 Plaintiff: MODEL ME KIDS, LLC
 vs.
 Defendant: MODEL-ME-KIDS, INC
 For:
 James Slater
 Slater Legal PLLC
 113 S. Monroe Street
 Tallahassee, FL 32301
 Received by L & L Process, LLC. on the 28th day of November, 2022 at 5:10 pm to be served on MODEL-
 ME-KIDS, INC C/O SHUSHONA COOPER, REGISTERED AGENT, 17801 NW 2ND AVE, #211, MIAMI,
 FL 33169.

 I, Danny Mendez, do hereby affirm that on the 8th day of December, 2022 at 12:50 pm, I:
 served a CORPORATION by delivering a true copy of the Summons in a Civil Action, Complaint for
 Trademark Infringement and Unfair Competition, and Civil Cover Sheet with the date and hour of
 service endorsed thereon by me, to: SHUSHONA COOPER as AUTHORIZED/ REGISTERED AGENT
 for MODEL-ME-KIDS, INC, at the address of: 1831 NW 154TH ST, OPA LOCKA, FL 33054, and
 informed said person of the contents therein, in compliance with state statutes.
 Military Status: Based upon inquiry of party served, Defendant is not in the military service of the United
 States of America.
 Marital Status: Based upon inquiry of party served, Defendant is not married.
 Additional Information pertaining to this Service:
 11/30/2022 12:00 pm Attempted service at 17801 NW 2ND AVE, #211, MIAMI, FL 33169. Doors locked.
 Lights off. Employees working remotely from home.
 Description of Person Served: Age: 40, Sex: F, Race/Skin Color: LIGHT TAN, Height: 5'6", Weight: 135,
 Hair: BLACK, Glasses: -
 I certify that I am over the age of 18, have no interest in the above action, and am a Certified Process
 Server, in good standing, in the judicial circuit in which the process was served. Under penalty of perjury,
 I declare that I have read the foregoing documents, and that the facts stated in it are true. NO NOTARY
 REQUIRED PURSUANT TO F.S.92.525(2)



                                                                           Danny Mendez
                                                                           Certified Process Server #1265
                                                                           L & L Process, LLC.
                                                                           13876 SW 56 Street
                                                                           Suite 200
                                                                           Miami, FL 33175
                                                                           (305) 772-8804
                                                                           Our Job Serial Number: LLP-2022004426




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      Case 1:22-cv-23871-JEM Document 6
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                                                               11/28/2022      Page 2
                                                               12/8/2022 12:50 PM
                                                                                    1 of 2
                                                                                         1
                                                                                   DELIVERED
                                                                                   SERVER    DM
AO 440 (Rev. 06/12) Summons in a Civil Action                                      LICENSE   Certified Process
                                                                                                Server #1265

                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                    Southern District
                                                    __________        of Florida
                                                                District  of __________

                     Model Me Kids, LLC                                 )
                                                                        )
                                                                        )
                                                                        )
                            Plaintiff(s)                                )
                                                                        )
                                v.                                           Civil Action No. 1:22-cv-23871-JEM
                                                                        )
                     Model-Me-Kids, Inc.                                )
                                                                        )
                                                                        )
                                                                        )
                           Defendant(s)                                 )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Model-Me-Kids, Inc.
                                           c/o Shushona Cooper, Registered Agent
                                           17801 NW 2nd Ave. #211
                                           Miami, Florida 33169




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: James Slater, Esq.
                                           Slater Legal PLLC
                                           113 S. Monroe Street
                                           Tallahassee, Florida 32301



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                               CLERK OF COURT

               Nov 28, 2022                                                                            s/ N. Wilner
Date:
                                                                                          Signature of Clerk or Deputy Clerk
